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                   1 Mark F. Lovell, CA Bar No. 246652
                       mark.lovell@ogletree.com
                   2 Carlos Bacio, CA Bar No. 328466
                       carlos.bacio@ogletree.com
                   3 OGLETREE, DEAKINS, NASH,
                       SMOAK & STEWART, P.C.
                   4 Park Tower, Fifteenth Floor
                       695 Town Center Drive
                   5 Costa Mesa, CA 92626
                       Telephone: 714-800-7900
                   6 Facsimile:   714-754-1298
                   7 Attorneys for Defendant Airport Terminal Services, Inc.

                   8
                                           UNITED STATES DISTRICT COURT
                   9
                           CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
                  10

                  11
                       JOSE MARTINEZ, an individual             Case No. 8:20-cv-426
                  12
                                  Plaintiff,                    DECLARATION OF MARK F.
                  13                                            LOVELL IN SUPPORT OF
                            v.                                  DEFENDANT AIRPORT TERMINAL
                  14                                            SERVICES, INC.’S NOTICE OF
                                                                REMOVAL OF CIVIL ACTION
                  15 AIRPORT TERMINAL SERVICES,
                     INC., A MISSOURI CORPORATION;              [Filed concurrently with Notice of
                  16 AND DOES 1 THROUGH 20,                     Removal; Civil Cover Sheet; Certificate
                     INCLUSIVE,                                 of Interested Parties; Corporate
                  17                                            Disclosure Statement; Declaration of
                                  Defendant.                    Brandy Wallace; and Notice of Related
                  18                                            Cases]
                  19                                            State Court
                                                                Action Filed:     December 30, 2019
                  20                                            Trial Date:       None Set
                                                                Judge:            Hon. JudgeName
                  21

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                                                                                           Case No. 8:20-cv-426
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                   1         I, Mark F. Lovell, certify and declare as follows:
                   2         1.     I am an attorney duly licensed to practice before this Court and before all
                   3   of the courts of the State of California. I am an attorney with the law firm of Ogletree,
                   4   Deakins, Nash, Smoak & Stewart, P.C., counsel of record for Defendant Airport
                   5   Terminal Services, Inc. (hereinafter “Defendant”) in this action.            I submit this
                   6   declaration in support of Defendant’s Notice of Removal of Civil Action under 28
                   7   U.S.C. §§ 1332 and 1441(b). If called as a witness, I could and would testify
                   8   competently testify to the facts set forth herein.
                   9         2.     Attached hereto as Exhibit “A”1 is a true and correct copy of the jury
                  10   verdict in the matter of Romero v. Leon Max, Inc., 2009 WL 5258439.
                  11         3.     Attached hereto as Exhibit “B” is a true and correct copy of the jury
                  12   verdict in the matter of Amigon vs. Cobe Color Cosmetics, 2009 WL 7497138.
                  13         4.     Attached hereto as Exhibit “C” is a true and correct copy of the jury
                  14   verdict and Special Verdict Form – Phase II in the matter of Martinez v. Rite Aid, et.
                  15   al. (BC401746) 10-JV_2044 (October 5, 2010).
                  16         5.     Attached hereto as Exhibit “D” is a true and correct copy of the jury
                  17   verdict in the matter of Espinoza v. County of Orange, 2009 WL 6323832.
                  18         6.     Attached hereto as Exhibit “E” is a true and correct copy of the jury
                  19   verdict in the matter of Hernandez v. Regents of the University of California, 2009 WL
                  20   6045700.
                  21         7.     Attached hereto as Exhibit “F” is a true and correct copy of the jury
                  22   verdict in the matter of Weyhe v. Wal-Mart Stores, Inc., 2010 WL 3411462.
                  23         8.     Attached hereto as Exhibit “G” is a true and correct copy of the jury
                  24   verdict and Special Verdict Form in the matter of Anderson v. American Airlines, Inc.,
                  25   N.D. Cal., No. 3:05-cv-0429 (2008).
                  26

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                         Defendant requests the Court take judicial notice of the facts set forth in Exhibits A
                  28   through Q pursuant to Fed. R. Evid. 201.
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                   1         9.     Attached hereto as Exhibit “H” is a true and correct copy of the jury
                   2   verdict, Special Verdict Form and Judgment Following Jury Verdict in Lefkir v.
                   3   Rancho Los Amigos/County of Los Angeles (BC412351) 10-JV_1877 (2010).
                   4         10.    Attached hereto as Exhibit “I” is a true and correct copy of the Second
                   5   Amended Judgment In Favor of Plaintiff and Third Amended Judgment In Favor of
                   6   Plaintiff in the matter of Martin v. Arrow Electronics, Inc., U.S.D.C. Central District
                   7   of California Case No. 04-1134.
                   8         11.    Attached hereto as Exhibit “J” is a true and correct copy of the Judgment
                   9   on Special Verdict in the matter of Lee v. TRW Inc., et al., U.S.D.C. Central District
                  10   of California Case No. 02-05172.
                  11         12.    Attached hereto as Exhibit “K” is a true and correct copy of the
                  12   Judgment on Special Verdict in the matter of Kruisheer v. Toys ‘R’ Us – Delaware,
                  13   Inc., U.S.D.C. Central District of California Case No. 05-3425.
                  14         13.    Attached hereto as Exhibit “L” is a true and correct copy of the Special
                  15   Jury Verdict Form, Judgment, Judgment on Special Verdict, Order Resolving Motion
                  16   for Statutory Attorney’s Fees and Taking Motion Off-Calendar and Jury Verdict in the
                  17   matter of Peacock v. Quest Diagnostics, et al., U.S.D.C. Central District of California
                  18   Case No. 09-09206.
                  19         14.    Attached hereto as Exhibit “M” is a true and correct copy of the jury
                  20   verdict in the matter of Vo v. Valley Dodge Inc., (L.A. Superior Court BC388059),
                  21   2012 WL 1707645.
                  22         15.    Attached hereto as Exhibit “N” is a true and correct copy of the jury
                  23   verdict in the matter of Cortes v. Montebello Unified School Dist., (L.A. Superior
                  24   Court BC359419), 2008 WL 3251449.
                  25         16.    Attached hereto as Exhibit “O” is a true and correct copy of the jury
                  26   verdict in the matter of Ismen v. Beverly Hospital, (L.A. Superior Court BC366198),
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                  28
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                   1         17.    Attached hereto as Exhibit “P” is a true and correct copy of the
                   2   $1,514,140.00 fee award in Beasley v. East Coast Foods, Inc., Case No. BC509995
                   3   (Los Angeles County Sup. Ct.).
                   4         18.    Attached hereto as “Exhibit Q” is a true and correct copy of a relevant
                   5   excerpt from the 2019 Judicial Caseload Profile for the Central District of California,
                   6   which is available on the website, http://www.uscourts.gov.
                   7         19.    I have practiced employment law since 2006. Based on my experience,
                   8   I anticipate that Defendant will take Plaintiff’s deposition and potentially others in this
                   9   matter. In addition, I anticipate that Defendant will file a motion for summary
                  10   judgment. Based on my experience, attorneys’ fees in California Fair Employment
                  11   and Housing Act cases, such as this one, often and routinely exceed $75,000.
                  12         I declare under penalty of perjury under the laws of the United States of America
                  13   and the State of California that the foregoing is true and correct.
                  14         Executed on this 2nd day of March 2020, in Costa Mesa, California.
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                  17                                            Mark F. Lovell
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                                                                                U.S. District Court — Judicial Caseload Profile
CALIFORNIA CENTRAL                                                                          12-Month Periods Ending

                                                                 Sep 30          Sep 30              Sep 30        Sep 30             Sep 30        Sep 30
                                                                  2014            2015                2016          2017               2018          2019                     Numerical
                                                                                                                                                                              Standing
                                    Filings ¹                        16,716          16,485            16,633           16,420          17,765        17,977                   Within
                                 Terminations                        17,001          16,686            16,530           16,554          16,149        17,356              U.S.      Circuit
    Overall
   Caseload                         Pending                          12,848          12,562            12,689           12,539          14,208        14,764
   Statistics            Percent Change in Total
                           Filings Current Year
                            Over Earlier Year                           7.5                9.1              8.1            9.5             1.2                            48             6
                                   Number of Judgeships                    28              28               28             28                28            28
                            Vacant Judgeship Months ²                   6.3               12.0             31.1           55.0            72.0            94.7
                                             Total                     597                589              594            586             634             642             21             5
                                             Civil                     520                520              526            510             548             554             15             4
                                             Criminal
                          Filings                                                                                                                                         78          10
                                             Felony                        45              37               40             43                54            57
                                             Supervised
   Actions                                   Release
per Judgeship                                Hearings                      32              33               28             34                33            31             53          12
                               Pending Cases ²                         459                449              453            448             507             527             39             7
                              Weighted Filings ²                       546                542              567            570             627             681             13             3
                                 Terminations                          607                596              590            591             577             620             19             4
                              Trials Completed                             15              13               11             12                11            11             70             9
                                             Criminal
                      From Filing to         Felony                    13.3               15.8             17.8           14.0            12.8            13.7            81          13
   Median              Disposition
                                             Civil ²                    5.3                5.5              4.9            4.9             5.0             4.9             3             1
Time (Months)
                           From Filing to Trial ²
                               (Civil Only)                            20.0               20.4             20.5           18.9            21.3            22.1            11             2
                              Number (and %)
                               of Civil Cases                          620                560              534            538             549             604
                              Over 3 Years Old ²                       6.2                5.6              5.4            5.6             5.0             5.4             33             2
                             Average Number
                          of Felony Defendants
     Other                    Filed per Case                            1.6                1.6              1.5            1.5             1.6             1.7
                                 Avg. Present for
                                 Jury Selection                        39.6               44.0             53.2           47.4            41.3            52.4
                     Jurors      Percent Not
                                 Selected or
                                 Challenged                            36.2               47.2             52.0           45.2            43.0            50.5

                                     2019 Civil Case and Criminal Felony Defendant Filings by Nature of Suit and Offense

      Type of            Total          A              B         C              D                E            F            G             H            I          J        K          L
        Civil            15,514             859            635   1,693              89               729          790      1,568             815      1,265      5,154         18    1,899
     Criminal ¹            1,579            18             573       161            151              359          80             34            13          67        13        37            73

NOTE: Criminal data in this profile count defendants rather than cases and therefore will not match previously published numbers.
¹ Filings in the "Overall Caseload Statistics" section include criminal transfers, while filings by "Nature of Offense" do not.
² See "Explanation of Selected Terms."




                                                                                                                                                    Exhibit Q, Page 108
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                                                       ID #:219


                   1                                 PROOF OF SERVICE
                                       Jose Martinez v. Airport Terminal Services, Inc., et al
                   2                                  Case No. 8:20-cv-426
                   3
                            I am and was at all times herein mentioned over the age of 18 years and not a
                   4 party to the action in which this service is made. At all times herein mentioned I have
                     been employed in the County of Orange in the office of a member of the bar of this
                   5 court at whose direction the service was made. My business address is 695 Town
                     Center Drive, Suite 1500, Costa Mesa, CA 92626.
                   6
                            On March 2, 2020, I served the following document(s):
                   7
                        DECLARATION OF MARK F. LOVELL IN SUPPORT OF DEFENDANT
                   8    AIRPORT TERMINAL SERVICES, INC.’S NOTICE OF REMOVAL OF
                                            CIVIL ACTION
                   9
                     by placing    (the original)    (a true copy thereof) in a sealed envelope addressed as
                  10 follows:

                  11 ☒     BY MAIL: I placed the envelope for collection and mailing, following our
                           ordinary business practices. I am readily familiar with the practice of Ogletree,
                  12       Deakins, Nash, Smoak & Stewart P.C.’s practice for collecting and processing
                           correspondence for mailing. On the same day that correspondence is placed for
                  13       collection and mailing, it is deposited in the ordinary course of business with
                           the United States Postal Service, in a sealed envelope with postage fully prepaid.
                  14
                       ☐    BY MAIL: I deposited the sealed envelope with the United States Postal
                  15        Service, with the postage fully prepaid at Park Tower, Fifteenth Floor, 695
                            Town Center Drive, Costa Mesa, CA 92626.
                  16
                       ☐    BY OVERNIGHT DELIVERY: I placed the sealed envelope(s) or package(s)
                  17        designated by the express service carrier for collection and overnight delivery
                            by following the ordinary business practices of Ogletree, Deakins, Nash, Smoak
                  18        & Stewart P.C., Costa Mesa, California. I am readily familiar with Ogletree,
                            Deakins, Nash, Smoak & Stewart P.C.’s practice for collecting and processing
                  19        of correspondence for overnight delivery, said practice being that, in the
                            ordinary course of business, correspondence for overnight delivery is deposited
                  20        with delivery fees paid or provided for at the carrier’s express service offices
                            for next-day delivery.
                  21
                       ☐    BY MESSENGER SERVICE: (1) For a party represented by an attorney,
                  22        delivery was made to the attorney or at the attorney’s office by leaving the
                            documents in an envelope or package clearly labeled to identify the attorney
                  23        being served with a receptionist or an individual in charge of the office. (2) For
                            a party, delivery was made to the party or by leaving the documents at the
                  24        party’s residence with some person not less than 18 years of age between the
                            hours of eight in the morning and six in the evening.
                  25
                       ☐    BY FACSIMILE: by transmitting a facsimile transmission a copy of said
                  26        document(s) to the following addressee(s) at the following number(s), in
                            accordance with:
                  27
41949993_1.docx
                                   ☐      the written confirmation of counsel in this action:
                  28
                                   ☐      [Federal Court] the written confirmation of counsel in this action
                                                                1                           Case No. 8:20-cv-426
                                                     PROOF OF SERVICE
              Case 8:20-cv-00426-DOC-DFM          Document 4 Filed 03/02/20       Page 111 of 112 Page
                                                       ID #:220


                   1                      and order of the court:
                   2   ☐     BY CM/ECF: With the Clerk of the United States District Court of California,
                             using the CM/ECF System. The Court’s CM/ECF System will send an e-mail
                   3         notification of the foregoing filing to the parties and counsel of record who are
                             registered with the Court’s CM/ECF System.
                   4
                       ☒     (Federal)    I declare that I am employed in the office of a member of the State
                   5                      Bar of this Court at whose direction the service was made. I
                                          declare under penalty of perjury under the laws of the United States
                   6                      of America that the above is true and correct.
                   7   ☐     (Federal)    I declare that I am a member of the State Bar of this Court at whose
                                          direction the service was made. I declare under penalty of perjury
                   8                      under the laws of the United States of America that the above is
                                          true and correct.
                   9
                              I declare under penalty of perjury under the laws of the United States of America
                  10   that the above is true and correct.
                  11
                             Executed on March 2, 2020, at Costa Mesa, California.
                  12

                  13

                  14

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                                                                     Lisa Sles
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                                                              2                                Case No. 8:20-cv-426
                                                       PROOF OF SERVICE
              Case 8:20-cv-00426-DOC-DFM       Document 4 Filed 03/02/20   Page 112 of 112 Page
                                                    ID #:221


                   1                                  SERVICE LIST
                   2
                       Brock & Gonzales, LLP                Attorneys for Plaintiff
                   3   Timothy J. Gonzales, Esq.            SCOTT DEWEY
                       D. Aaron Brock, Esq.
                   4   Christopher P. Brandes, Esq.
                       6701 Center Drive West, Suite 610
                   5   Los Angeles, CA 90045
                       Telephone: 310.294.9595
                   6   Facsimile: 310.961.3673
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                                                          3                           Case No. 8:20-cv-426
                                                   PROOF OF SERVICE
